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7
8                            UNITED STATES DISTRICT COURT
9
                            CENTRAL DISTRICT OF CALIFORNIA
10
                           (WESTERN DIVISION – LOS ANGELES)
11
12   GRANT MCKEE, ERIC WEBER, and                   Case No. 2:17-cv-01941 GW (Ex)
13   MICHAEL ROGAWSKI, individually
     and on behalf of all others similarly
14   situated,                                      DECLARATION OF MICHAEL
15                                                  ROGAWSKI IN SUPPORT OF
                    Plaintiffs,                     PLAINTIFFS’ MOTION FOR
16                                                  CORRECTIVE ACTION
     v.
17
     AUDIBLE, INC.,
18                                                  Date:             July 23, 2018
19                  Defendant.                      Time:             8:30 a.m.
                                                    Courtroom:        9D
20                                                  Judge:            Hon. George H. Wu
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          DECLARATION OF MICHAEL ROGAWSKI IN SUPPORT OF PLAINTIFFS’ MOTION FOR CORRECTIVE
                                              ACTION
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 1                     DECLARATION OF MICHAEL ROGAWSKI
 2         I, Michael Rogawski, declare as follows:
 3         1.    I am an individual over 18 years old. I currently reside in California. I am a
 4 Plaintiff in this case. The facts set forth in this Declaration are based upon my own
 5 personal knowledge and, if called as a witness, I could and would competently testify to
 6 the facts set forth herein
 7         2.    I became an Audible member in September 2014 and remained a member
 8 in good standing during the following years. In December 2017, I joined this action as a
 9 named plaintiff and proposed class representative. From December 2018 until March 28,
10 2018, I continued to be an Audible member. I did not redeem any credits during that time,
11 however, because I was not willing to agree to waive my rights to bring my claims in
12 court and because I was waiting for the Court’s ruling on several motions. On March 28,
13 2018, I received an unsolicited email from Audible’s customer service telling me Audible
14 had received confirmation that I had cancelled my membership. The email also told me
15 I could reactivate my membership if I wanted to. The email confused me because I had
16 not cancelled my membership and I did not want to cancel my membership. I want to
17 remain an Audible customer. A true and correct copy of the email Audible sent me is
18 attached as Exhibit 1. A short while later, I received a second unsolicited email from
19 Audible’s customer service telling me that Audible had terminated my membership and
20 was going to send me a “refund” for all of my prior payments. The email did not explain
21 why the termination occurred or what effect the refund would have if I cashed the check.
22 A true and correct copy of the second email Audible sent me is attached as Exhibit 2. A
23 few days later I received a check with the notation “customer refund” on it. No cover
24 letter or other explanation accompanied the check. A true and correct copy of the check
25 Audible sent me is attached as Exhibit 3. I did not know what to make of the emails or
26 the check. I have not cashed the check. I believe I lost multiple credits when Audible
27 terminated my membership without notice and against my wishes.
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        DECLARATION OF MICHAEL ROGAWSKI IN SUPPORT OF PLAINTIFFS’ MOTION FOR CORRECTIVE
                                            ACTION
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1         3.    I would like to remain an Audible customer. However, I believe the
2 company ought when soliciting new members to disclose the terms of its membership
3 plans, including its rollover and cancellation policies. I further believe that the credit
4 rollover limit, whereby credits that a customer has paid for may be lost, is unfair and
5 should be eliminated.
6
7         I declare under penalty of perjury under the laws of the United States of America
8 and the State of California that the foregoing is true and correct. This Declaration was
9 executed on May 29, 2018, at Sacramento, California.
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11                                        By:
12                                        Michael Rogawski, Plaintiff
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       DECLARATION OF MICHAEL ROGAWSKI IN SUPPORT OF PLAINTIFFS’ MOTION FOR CORRECTIVE
                                           ACTION
